    8:14-cb-00011-TDT         Doc # 12    Filed: 12/09/14    Page 1 of 1 - Page ID # 22




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )      Violation Number: 2304516 NE14
                      Plaintiff,            )              8:14CB11
                                            )
               vs.                          )                ORDER
                                            )
JOHN D. DEWHURST,                           )
                                            )
                      Defendant.            )


        On the motion of the United States Attorney=s Office (Filing No. 11), the bench warrant

in the above-referenced matter is hereby canceled and the matter is continued to February 24,

2015.

        ORDERED this 9th day of December, 2014.


                                            BY THE COURT:


                                            s/ Thomas D. Thalken
                                            United States Magistrate Judge
